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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

                                                     §
 ANDREW D. D’ANGELO,                                 §
                                                     §
                     Plaintiff,                      §   Case No. _________
                                                     §
                         v.                          §   Removed from St. Clair County, IL
                                                     §   (Case No. 18-L-60)
 CARLOS E. MARTINEZ and IRC L.P.,                    §
                                                     §   JURY TRIAL DEMANDED
                    Defendants.                      §
                                                     §

                                   NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendants

Carlos E. Martinez (“Martinez”) and IRC L.P. (“IRC”) (collectively, “Defendants”), by and

through their undersigned counsel, hereby give notice of removal of Case No. 18-L-60 in the

Circuit Court for the Twentieth Judicial Circuit, St. Clair County, Illinois to the United States

District Court for the Southern District of Illinois. In support of this Notice of Removal,

Defendants state as follows:

                                   THE STATE COURT ACTION

   1. On or about January 26, 2018, an action was commenced by Plaintiff Andrew D’Angelo

in the Circuit Court for the Twentieth Judicial Circuit in St. Clair County, Illinois against

Defendants Carlos Martinez and IRC L.P. (the “Complaint” or “Compl.”), styled as Andrew D.

D’Angelo v. Carolos E. Martinez and IRC L.P., Case No. 18-L-60. A true and correct copy of the

Complaint is attached hereto as Exhibit A. The only other document in the state court file is a

receipt, which is also included in Exhibit A pursuant to 28 U.S.C. § 1446(a).
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                         THE DEFENDANTS HAVE SATISFIED THE
                       PROCEDURAL REQUIREMENTS FOR REMOVAL

   2. The Circuit Court of St. Clair County, Illinois is located within the United States District

Court for the Southern District of Illinois. 28 U.S.C. § 93 (c). As such, pursuant to 28 U.S.C. §§

1441(a) and 1446(a), venue is appropriate in this District.

   3. Counsel for Martinez was sent a file-stamped copy of Plaintiff’s Complaint and two copies

of a Notice and Acknowledgement of Receipt of Summons via first-class mail post-marked

February 5, 2018. The Complaint, two copies of the Notice of Acknowledgment of Receipt of

Summons, and a cover letter from Plaintiff’s counsel were received by counsel for Martinez in the

offices of Zuckerman Spaeder LLP on February 15, 2018. A copy of the Complaint, two copies

of the Notice of Acknowledgment of Receipt of Summons, and cover letter are attached hereto as

Exhibit B.

   4. Counsel for Martinez responded via letter on March 2, 2018, acknowledging receipt of the

Complaint. A copy of that letter is attached hereto as Exhibit C.

   5. Counsel for IRC was sent a file-stamped copy of Plaintiff’s Complaint and two copies of

a Notice and Acknowledgement of Receipt of Summons via first-class mail post-marked February

5, 2018. The Complaint, two copies of the Notice of Acknowledgment of Receipt of Summons,

and a cover letter from Plaintiff’s counsel arrived at the offices of HeplerBroom LLC on February

7, 2018. A copy of the Complaint, two copies of the Notice of Acknowledgment of Receipt of

Summons, and cover letter are attached hereto as Exhibit D.

   6. Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders served upon

the Defendants are attached hereto as Exhibits A, B, and D.




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   7. As this notice is being filed within thirty days of receipt of the Complaint by both Martinez

and IRC, and within one year of the commencement of the action, it is timely pursuant to 28 U.S.C.

§ 1446(b).

   8. Pursuant to 28 U.S.C. § 1446(b), both Defendants consent to the removal of this action.

   9. Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being served upon

counsel for Plaintiffs, and a copy is being filed with the Clerk of the Twentieth Judicial Circuit in

St. Clair County, Illinois. A copy of the Notice of Filing of Notice of Removal and Notice to

Plaintiff of Filing of Notice of Removal are attached hereto as Exhibits E and F, respectively.

                       THIS COURT HAS SUBJECT MATTER JURISDICTION
                               PURSUANT TO §§ 1332 AND 1441

   10. This is a civil action over which this Court has jurisdiction pursuant to 28 U.S.C. §§ 1332

and 1441 because this is a civil action in which the parties are diverse in citizenship and the amount

in controversy exceeds $75,000, exclusive of costs and interest.

A. Complete Diversity of Citizenship Exists

   11. The plaintiff in this action is completely diverse from the two named defendants. Plaintiff

is a citizen of the United States and a resident of the State of Missouri. Compl. ¶ 1.

   12. Martinez is a citizen of the Dominican Republic. Compl. ¶ 2. He holds an Employment

Authorization Document, a properly redacted copy of which is attached hereto as Exhibit G.

   13. Martinez resides in the State of Florida and is domiciled there. Compl. ¶ 2. He has a

Florida driver’s license listing his address there, a properly redacted copy of which is attached

hereto as Exhibit H.

   14. IRC is a limited partnership, and at all times relevant herein was, owned by, operated by,

a subsidiary of, and/or otherwise controlled by one or more corporations and/or natural person(s)

who are citizens of the United States and residents of the State of Colorado. Compl. ¶ 3.


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   15. As a result, there was complete diversity of citizenship between the parties within the

meaning of 28 U.S.C. § 1332 at the time the Complaint was filed and at the time of the filing of

this Notice of Removal. As such, this action is removable pursuant to 28 U.S.C. § 1441(b).

B. The Amount in Controversy Requirement is Satisfied

   16. In the Complaint, Plaintiff seeks actual and punitive damages from Martinez for assault,

battery, and civil conspiracy (Counts I-III, ¶¶24-36). Plaintiff seeks actual damages from IRC for

negligence and premises liability (Counts VI[sic] and V, ¶¶37-49). For each of these five counts,

Plaintiff purports to seek damages in an amount “in excess of $50,000.00,” including punitive

damages.     Thus, the amount in controversy requirement is satisfied pursuant to 28 U.S.C.

§§ 1332(a) & 1446(c)(2). See LM Ins. Corp. v. Spaulding Enters. Inc., 533 F.3d 542, 551-52 (7th

Cir. 2008); Cruz v. Darden Restaurants, Inc., No. 09-657-DRH, 2010 WL 746982, at *3 (S.D. Ill.

Mar. 1, 2010).

                                     PROPRIETY OF REMOVAL

   17. For the foregoing reasons, this Court has jurisdiction over this action based on diversity of

citizenship pursuant to 28 U.S.C. § 1332(a)(1), and this action may be removed to this Court

pursuant to 28 U.S.C. § 1441(a) and (b).

   18. The Circuit Court of St. Clair County, where this action was originally brought is located

within the United States District Court for the Southern District of Illinois. See 28 U.S.C. § 93 (c).

Therefore, this action is properly removed to this Court in this District pursuant to 28 U.S.C. §

1441(a).

   19. If any question arises regarding the propriety of the removal of this action, Defendants

respectfully request the opportunity to present a brief in support of their position that this case is

removable.



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   20. By filing this Notice of Removal, neither Martinez nor IRC waives any defenses that may

be available to either of them in this action.

   21. Defendants reserve the right to amend or supplement this Notice of Removal.

   WHEREFORE, Martinez and IRC respectfully request that this action be removed to the

United States District Court for the Southern District of Illinois.



Dated: March 5, 2018

                                                       _/s/ Arsenio L. Mims_________________
                                                       Gabriel E. Gore
                                                       (Southern District of Illinois admission
                                                       forthcoming)
                                                       Arsenio L. Mims #6317837
                                                       DOWD BENNETT LLP
                                                       7733 Forsyth Blvd., Suite 1900
                                                       St. Louis, MO 63105
                                                       Tel: (314) 889-7300
                                                       Fax: (314) 863-2111
                                                       ggore@dowdbennett.com
                                                       amims@dowdbennett.com

                                                       Jon R. Fetterolf (D.C. Bar No. 479225)
                                                       (pro hac vice admission forthcoming)
                                                       ZUCKERMAN SPAEDER LLP
                                                       1800 M Street N.W. Suite 1000
                                                       Washington, D.C. 20036
                                                       Tel: (202) 778-1800
                                                       Fax: (202) 822-8106
                                                       E-mail: jfetterolf@zuckerman.com

                                                       Attorneys for Carlos E. Martinez

                                                       /s/ Troy A. Bozarth_________
                                                       Troy A. Bozarth #6236748
                                                       HeplerBroom LLC
                                                       130 North Main Street
                                                       P.O. Box 510
                                                       Edwardsville, IL 62025
                                                       Tel: (618) 307-1124
                                                       Fax: (618) 656-1364
                                                       Troy.Bozarth@heplerbroom.com

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                                                    Attorney for IRC L.P.




                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 5th day of March 2018, I caused a true and correct copy of
the foregoing Notice of Removal to be served by electronic and first class mail, postage prepaid,
on the following:

Thomas J. Lech
GOLDENBERG HELLER & ANTOGNOLI, P.C.
2227 South State Route 157
Edwardsville, IL 62025
tlech@ghalaw.com

John M. Eccher
ECCHER LAW GROUP
1034 S. Brentwood Blvd.
Ste. Penthouse 1-C, 23rd Floor
St. Louis, MO 63117
jeccher@eccherlawgroup.com

Attorneys for Plaintiff


                                                               /s/_Arsenio L. Mims___________




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